               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION


LG ELECTRONICS INC. AND
LG ELECTRONICS ALABAMA, INC.,

            Plaintiffs,            Case No. 1:21-cv-2600

     v.                            Judge: Mary M. Rowland

THE PARTNERSHIPS AND               Magistrate Judge: Heather K. McShain
UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,

           Defendants.



           PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR
          RENEWED MOTION FOR A PRELIMINARY INJUNCTION
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I.     INTRODUCTION AND SUMMARY OF ARGUMENT

       LGE 1 renews its request for a preliminary injunction to prevent the Defendants identified

in Schedule A 2 to the complaint from continuing to infringe U.S. Patent No. 10,653,984 (“the

’984 Patent”) 3 through prohibited conduct such as importation, sale, or offer for sale of the

accused products. Despite having notice of the ’984 Patent at least as of the time service of the

complaint (and in some instances years before then), Defendants continue to infringe claim 1 of

the ’984 Patent at least by offering to sell and selling replacement water filters in the United

States via Amazon.com. Absent immediate relief, Defendants will continue to sell accused water

filters, irreparably harming LGE’s goodwill and reputation, and eroding LGE’s market share.

       LGE is a leading innovator in the home appliance space, having invested significantly in

building its reputation for safe, innovative, and reliable products. In just the past twenty years,

LGE has built its business through providing quality and innovative products, becoming one of

the market leaders. LGE’s investment in research and development, as shown through its patent

holdings and its high-quality products, lay the foundation for the goodwill and reputation it has

earned with customers across the globe.

       Defendants place that reputation and goodwill at immediate risk. They sell infringing

water filters based on copying LGE’s patented invention. Defendants do so without LGE’s

permission or authorization. Their disregard for LGE’s patent rights is clear and troubling,

particularly given their knowledge of the ’984 Patents and of LGE’s patent infringement claims

at least as of the time of service of the complaint. The invention claimed in the ’984 Patent–an



1
  LGE refers to Plaintiffs LG Electronics Inc. (“LGE”) and LG Electronics Alabama, Inc.
(“LGEAI”) collectively.
2
  Other than LQQy, LYLYMX, and Quantum Home Products which have been found in default.
3
  LGE proposes a briefing schedule under which Defendants can submit a response by August 2,
and LGE a reply by August 6.
                                                  1
embodiment of which is the LT1000P filter–and Defendants’ products are materially the same,

and they all infringe claim 1. Those similarities did not arise by happenstance, and Defendants

do not hide their motive to profit from LGE’s ingenuity. As one grouping of Defendants has

even admitted, they had an LG refrigerator (which comes with an LGE filter) when they

designed their filter and “built a filter specifically for it, intending to market that filter . . . for that

LG fridge.” July 9, 2021 Hr. Tr. at 14 (statements from Express Parts !!!, GLACIERFRESH,

Kozero Filter, Pureza Filters). Their design “has to be exactly the same [as LGE’s] down to the

millimeter[.]” July 9, 2021 Hr. Tr. at 16 (statements from Express Parts !!!, GLACIERFRESH,

Kozero Filter, Pureza Filters).

        In their marketing and advertising of the infringing products, Defendants expressly

invoke the name of LGE’s “LT1000P” filter in Amazon product listings, leaving customers with

the impression that Defendants’ products do not meaningfully differ from LGE’s genuine water

filters. Each and every Defendant expressly references LGE’s “LT1000P” filter in their

advertisements, and many provide their own confusingly similar product numbers (e.g.,

“LT1000P,” “GF-1000P,” “PP-LT1000P,” “AQF-1000P,” “WD-LT1000P,” “MB-LT1000P,”

“LG LT 1000P,” and “AL-1000P”). Each and every sale of these infringing products is at least

one less sale LGE would have made but for that infringement. And the number is in the millions

of dollars. Based on the discovery Defendants have produced to date, they have

         infringing water filters since the issuance of the ’984 Patent. Putting aside the profits

LGE has lost because of the infringement (particularly since Defendants sell their products in

some instances at one fifth the price of a genuine LGE filter), Defendants’ infringing sales have

significantly eroded LGE’s market share. They also have irreparably harmed LGE’s reputation

and goodwill.



                                                     2
       The potential harm here, however, does not only affect LGE. Water filtration is a public

health concern. LGE’s genuine water filters undergo extensive verification and validation to

ensure they remove lead and other particulates from the water as advertised. LGE’s filters adhere

to specific standards and certifications that are clearly identified to consumers at the time of sale.

Defendants, however, do not adhere to the same standards yet mislead the public when

advertising their filters as compliant with the same certifications as LGE.

       Because of the ongoing and immediate harm posed by Defendants’ activities, and the

strength of LGE’s infringement claim, LGE respectfully request a preliminary injunction

precluding Defendants’ continued infringement of the ’984 Patent, including the products in

Schedule A and mere colorable variations thereof.

II.    FACTUAL BACKGROUND

       A.      LG Electronics, LG Electronics Alabama, and the ’984 Patent

       LGE is one of the most innovative companies in the home appliance industry, including

in the area of home refrigerators. It has expended significant resources to develop and

commercialize its innovative home appliance products and, in the process, obtained thousands of

patents in the field of refrigerator technology. Exhibit A at ¶ 3, Declaration of Kuyoung Son.

One of those patents is the ’984 Patent, which relates to an innovative water filtration device. It

was filed on October 8, 2018, and claims priority to Korean Patent Application No. 10-2016-

0034309, filed on March 22, 2016. See Exhibit 1, 4 ’984 Patent; Exhibit A at ¶ 7, Son

Declaration. Thus, the ’984 Patent is treated as having a filing date of March 22, 2016.

       Replacement water filters are important to LGE’s refrigerators sold in the U.S. Id. at ¶ 5.

To maintain proper operation and safety, customers are asked to replace water filters every six


4
 Numbered exhibits refer to the exhibits described in Exhibit C, Declaration of Aidan C.
Skoyles. Lettered exhibits A, B, and C refer to the declarations filed with this memorandum.
                                                  3
months. Id. Prompt replacement of the water filter ensures the purity, safety, and taste of water

provided through the water dispenser and ice maker. Id. The LT1000P is an LGE-branded water

filter covered by the ’984 Patent. Id. Genuine LT1000P water filters are widely available in the

United States through national, regional, and local authorized dealers including but not limited to

Lowe’s, Home Depot, BestBuy, Transform (formerly Sears), Plessers.com, Tri-City Sales,

Gerhard’s, Abt, Jetson, Agren, Zeglin’s, and Famous Tate. Exhibit B at ¶ 5. The LGE website in

Exhibit 3 provides a searchable database of authorized local service dealers under the “Where to

Buy” heading. Id. at ¶ 6.

        Unauthorized sellers like Defendants are selling infringing water filters via Amazon.com

and other platforms. Id. at ¶ 7. In 2020 alone, LGE estimates that it lost more than $10M in sales

revenue in the United States due to unauthorized sales of water filters that are materially

identical to the LT1000P and infringe the ’984 Patent. Id at ¶ 8.

        B.      The Defendants

        Defendants sell replacements for LGE’s LT1000P filter through Amazon.com and

possibly other avenues. By including “LT1000P” in their Amazon listings, Defendants’ listings

appear when customers enter “LT1000P” in the Amazon search bar. See Exhibits 2-19. Many

Defendants listed in Schedule A also adopt part numbers for their products that mimic or copy

LGE’s LT1000P designation, including “LT1000P,” “GF-1000P,” “PP-LT1000P,”

“AQF1000P,” “WD-LT1000P,” “MB-LT1000P,” “LG LT 1000P,” and “AL-1000P.” See id.

And by avoiding the years of R&D and associated expense incurred by LGE, Defendants are

able to sell their infringing filters at a fraction of LGE’s sale price.

        Defendants’ actions not only violate LGE’s intellectual property rights but may pose

health risks to unknowing consumers who purchase and use them. E-commerce sales, including

through e-commerce storefronts like Defendants’, have sharply increased the shipment of
                                                    4
unauthorized products into the U.S. Exhibit 20, a Customs and Border Protection (“CBP”)

Intellectual Property Seizure Statistics Report for fiscal year 2018, explains that over 90% of all

CBP intellectual property seizures were from small and express shipments, not large shipping

containers. Id. at 15. Over 85% of CBP seizures originated from mainland China and Hong

Kong. See id. at 16. Infringing products account for billions in economic losses, resulting in tens

of thousands of lost jobs for legitimate businesses and broader economic losses, including lost

tax revenue. See id. at 6. Moreover, “experts at U.S. Customs and Border Protection . . . have

difficulty identifying counterfeit water filters.” Exhibit 21 at 2.

          Here, LGE’s safety requirements for their filters include NSF42, NSF53, and NSF401

certifications. 5 See Exhibit 22 at 1. Defendants’ infringing products do not adhere to the same

safety standards and certifications and take advantage of consumers who are not likely to be

familiar with the relevant standards. With their motion to dissolve the TRO, Defendants Express

Parts !!!, GLACIERFRESH, Kozero Filter, Pureza Filters produced a copy of the NSF

certification for Ningbo Pureza Technology, LLC seeming to indicate their filters hold only NSF

42 certification for “Aesthetic Effects.” See Exhibit 23. But a review of their own Amazon listing

shows the opposite. For example, the fine print in one of Defendants’ Amazon listings states

“Not performance Tested or Certified by NSF.” See Exhibit 15 As another example, Defendants

Qingdao Ecopure Filter Co., Ltd. Qingdao Uniwell Trading Co., Ltd., and Qingdao Maxwell

Commercial and Trading Company Ltd. represented to this Court in their motion to dissolve the

TRO and PI that they are “certified for NSF 42, 53, 401 and 372” D.I. 55 at 11. But their own

exhibits contradict that statement as to the infringing products at issue in this case. Specifically,

in their interrogatory responses,



5
    NSF International is a testing organization unrelated to the National Science Foundation.
                                                   5
       Yet, that products is not listed anywhere in the very NSF 53 certification for “Health

Effects” they included as an exhibit to their motion to dissolve the TRO and PI. D.I. 55-17 (Ex.

16 to Defendants’ Mot.).

III.     LEGAL STANDARDS

         A party seeking a preliminary injunction must make an initial showing that (1) it has

some likelihood of succeeding on the merits; (2) it will suffer irreparable harm if the injunction is

not granted; and (3) there is no adequate remedy at law. Girl Scouts of Manitou Council, Inc. v.

Girl Scouts of the U.S.A., Inc., 549 F.3d 1079 (7th Cir. 2008); see also Illinois Republican Party

v. Pritzker, 973 F.3d 760, 763 (7th Cir. 2020). Although demonstrating a likelihood of success is

“a significant burden,” “at such a preliminary stage, the applicant need not show that it definitely

will win the case.” Id. “A ‘strong’ showing thus does not mean proof by a preponderance…[b]ut

it normally includes a demonstration of how the applicant proposes to prove the key elements of

its case.” Id.

         If the moving party makes the initial showing, the court then balances the irreparable

harm that the moving party would suffer absent a preliminary injunction against any irreparable

harm the nonmoving party would suffer an injunction were granted. Id. “This Circuit employs a

sliding scale approach for this balancing: if a plaintiff is more likely to win, the balance of harms

can weigh less heavily in its favor, but the less likely a plaintiff is to win the more that balance

would need to weigh in its favor.” GEFT Outdoors, LLC v. City of Westfield, 922 F.3d 357, 364

(7th Cir. 2019), cert. denied sub nom. 140 S. Ct. 268, 205 L. Ed. 2d 137 (2019) (internal citations

and quotations omitted); see also Abbott Laboratories v. Mead Johnson & Co., 971 F. 2d 6, 12

(7th Cir. 1992) (emphasis added). Finally, the court asks “whether the preliminary injunction is

in the public interest, which entails taking into account any effects on non-parties.” Courthouse
                                                  6
News Serv. v. Brown, 908 F.3d 1063, 1068 (7th Cir. 2018). “Ultimately, the moving party bears

the burden of showing that a preliminary injunction is warranted.” Id.

        In the patent context, “[a] party may establish a likelihood of success by showing that at

least one valid and enforceable patent claim is likely to be infringed. Metalcraft of Mayville, Inc.

v. The Toro Co., 848 F.3d 1358, 1368 (Fed. Cir. 2017) (internal citation omitted) (affirming grant

of a preliminary injunction in the patent context). In terms of the remaining factors relevant to a

preliminary injunction, “[t]he essential attribute of a patent grant is that it provides a right to

exclude competitors from infringing the patent [and i]n view of that right, infringement may

cause a patentee irreparable harm not remediable by a reasonable royalty.” Acumed LLC v.

Stryker Corp., 551 F.3d 1323, 1328–29 (Fed. Cir. 2008) (emphasis added) (internal citation

omitted). Further, “[w]here the injury cannot be quantified, no amount of money damages is

calculable, and therefore the harm cannot be adequately compensated and is irreparable.”

Metalcraft of Mayville, Inc.., 848 F.3d 1358, 1368 (Fed. Cir. 2017).

IV.     ARGUMENT

        A.      LGE has already made a strong showing of likelihood of success on the
                merits

        As the Federal Circuit has found in the preliminary injunction context for patent

infringement actions:

                With respect to establishing a likelihood of success on the merits,
                “the patentee seeking a preliminary injunction in a patent
                infringement suit must show that it will likely prove infringement,
                and that it will likely withstand challenges, if any, to the validity of
                the patent.” An accused infringer “can defeat a showing of
                likelihood of success on the merits by demonstrating a substantial
                question of validity or infringement.”

        Tinnus Enterprises, LLC, 846 F.3d at 1202 (internal citations omitted).




                                                   7
        Here, LGE has already provided a detailed chart explaining how each and every element

of claim 1 of the ’984 Patent, directed to the boundaries of the patented invention, is included in

Defendants’ accused products, thus infringing the patent. See Exhibits 27-29. 6 As shown in detail

below, LGE submits that the Court’s findings on likelihood of success should stand.

                1.      LGE is likely to succeed on the infringement claims

        LGE is likely to succeed on the merits of its patent infringement claim. A defendant

infringes a patent if it “without authority makes, uses, offers to sell, or sells any patented

invention, within the United States or imports into the United States any patented invention

during the term of the patent therefor.” 35 U.S.C. § 271(a). “An infringement analysis involves

the two-step process of ‘construing the claims and comparing the properly construed claims to

the accused products.” Tinnus Enterprises, LLC, 846 F.3d at 1203 (affirming the district court’s

grant of a preliminary injunction and rejecting the defendant’s argument that the district court

failed to construe certain claim terms at issue in its analysis).

        Under the first step (construing the claims), claim terms are given their plain and ordinary

meaning. See Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en banc). Here too,

the plain and ordinary meaning of terms of claim 1 apply, as Defendants concede.

        Under the second step (comparing the claims to the accused products), Defendants’

replacement filters infringe claim 1 of the ’984 Patent, as shown in the claim charts submitted

with the complaint and attached to this motion. See Exhibits 27-29. Three variations of the same


6
  Also this Court has already found LGE is likely to succeed on the merits. D.I. 21 (granting a
TRO and stating that Defendants have “caused Plaintiffs substantial injury in the State of Illinois
by marketing, selling, and delivering products that infringe U.S. Patent No. 10,653,984 . . . ”),
29 (granting a preliminary injunction and making the same findings with respect to Defendants’
infringement), 100 at n3 (explaining that while “the Court [] expressed skepticism about LGE’s
likelihood of success on the merits[, t]he defendants, however, have yet to raise any ‘substantial
question’ concerning the validity of the patent,’ and their filter appears to be nearly identical to
the one described by the ‘984 Patent.’”) (internal citations omitted).
                                                   8
water filter design are at issue across all Defendants, but all variations contain every element of

claim 1, which is all that is required to show infringement of the ’984 Patent. The variations in

the Defendants’ filters are immaterial to and do not change the infringement analysis. For

convenience, LGE has grouped Defendants’ filters into the Pureza, 7 Yunda, 8 and Ecopure 9

groups. The Bringpure filter sold by “ICE water filter” 10 exemplifies all the Pureza group filters

and is described in detail in the following paragraphs. See Exhibit 30.

       The preamble to claim 1 of the ’984 Patent recites “[a] filter assembly.” Exhibit 1 at

25:44. As the representative image below shows, the Bringpure filter product is a filter assembly.

See also generally Exhibit 30. The claimed “filter assembly” is synonymous with what the ’984

Patent calls a filter. See Exhibit 1 at 7:6-19, Fig. 4 (elements 401, 402, and 403).




7
 The “Pureza” group defendants include Shenzen Hangling E-commerce co., Ltd. d/b/a Best
Belvita and Dongyang Zhangping Leather Co., Ltd., d/b/a Ice Water, Express Parts LLC d/b/a as
Express Parts !!!, Shanghai Yu Tian Qi Technology Co., Ltd. d/b/a as GLACIERFRESH, Ninbo
Haishu Keze Replacement Equipment Co., Ltd d/b/a as Kozero Filter, Ninbo Haishu Bichun
Technology Co., Ltd d/b/a as Pureza Filters.
8
 The “Yunda” group defendants include W&L Trading LLC d/b/a as AQUALINK, Top Pure
(USA) Inc. d/b/a as ICE PURE; Tianjin Tianchuang Best Pure Environmental Science and
Technology Co., Ltd. d/b/a as HEALTHY HOME~ d/b/a GOLDEN ICEPURE. and Yunda H&H
Tech (Tianjin) Co., Ltd. d/b/a as PUREPLUS.
9
 The “Ecopure” group defendants include Qingdao Ecopure Filter Co. Ltd., Qingdao Maxwell
Commercial and Trading Company Ltd., and Qingdao Youniwei Trading Co., Ltd.
10
  The Bringpure filter is sold by “ICE water filter” with Merchant ID “A3CSW47NAJXREI”
and ASIN “B08CCQJZV8.” Exhibit 2.


                                                  9
           Bringpure filter (Exhibit 27 at 1)         ’984 Patent (Exhibit 1 at Fig. 4)

       Claim 1 further recites “a filter member.” Exhibit 1 at 25:45. The filter assembly of each

Bringpure filter houses a filter member for filtering water. The annotated image below indicates

the black filter member housed inside a representative Bringpure filter assembly. See also

generally Exhibit 30. The claimed “filter member” is synonymous with what the ’984 Patent

calls a “filtering member.” See Exhibit 1 at 8:26-32, Fig. 7 (element 44).




                                                10
     Bringpure filter (Exhibit 27 at 2)                     ’984 Patent (Exhibit 1 at Fig. 7 11)

       Claim 1 further recites “a housing body having an accommodating space formed therein

to accommodate at least a portion of the filter member.” Exhibit 1 at 25:4648. As images below

show, each Bringpure filter product has a cylindrical plastic shell with a hollow interior to

accommodate part of the filter member. See also generally Exhibit 30. The cylindrical shell

corresponds to the claimed “housing body,” and its hollow interior corresponds to the claimed

“accommodating space.” The filter member resides in the accommodating space of the

cylindrical housing body. As the ’984 Patent explains, “The housing body 42 may have a

cylindrical shape (not limited thereto) to define a first accommodating space for accommodating

the filtering member 44.” Exhibit 1 at 8:33-35, Fig. 7 (element 42).




11
  Figures from the ’984 Patent have been annotated with colors and in some cases excerpted to
identify relevant components and enlarge the image.
                                                 11
     Bringpure filter (Exhibit 27 at 3)                        ’984 Patent (Exhibit 1 at Fig. 7)

         Claim 1 further recites “a housing cap coupled to an upper portion of the housing body.”

Exhibit 1 at 26:1-2. As the images below show, each Bringpure filter product includes a housing

cap coupled to an upper portion of the housing body. 12 See also generally Exhibit 30. As the

’984 Patent explains, “a housing cap 43 . . . may be coupled to an upper end of the housing body

42 to form an upper portion of the housing 41.” Exhibit 1 at 8:28-32, Fig. 7 (element 43).




12
  The housing cap is fused to the housing body during manufacturing. In many images, the
housing cap has been sawed through to separate it from the housing body.
                                                12
            Bringpure filter (Exhibit 27 at 4)         ’984 Patent (Exhibit 1 at Fig. 7)

       Claim 1 further recites, “the housing cap comprising an upper side and a lower side,

wherein a diameter of the upper side is smaller than a diameter of the lower side.” Exhibit 1 at

26:2-3. As the images below show, the housing cap of each Bringpure filter product has an upper

side with a smaller diameter than the lower. See also generally Exhibit 30. Figure 7 of the ’984

Patent similarly shows the diameter of the upper side of housing cap 43 is smaller than the

diameter of its lower side. See Exhibit 1 at Fig. 7 (element 43).




          Bringpure filter (Exhibit 27 at 5)            ’984 Patent (Exhibit 1 at Fig. 7)




                                                 13
       Claim 1 further recites, “a channel formed through the upper side and the lower side” of

the housing cap. Exhibit 1 at 26:5-6. As the images below show, the housing cap of each

Bringpure filter product is cylindrical and hollow. See also generally Exhibit 30. The hollow

interior of the housing cap forms a channel through its upper and lower sides. Figures 7 and 9 of

the ’984 Patent similarly show a channel formed through the upper and lower sides of housing

cap 43. See Exhibit 1 at Figs. 7, 9 (element 43). “The housing cap 43 includes an upper opening

portion” through which a shaft can be inserted, and it “couple[s] to the upper opening portion of

the housing body 42.” Exhibit 1 at 8:37-45.




        Bringpure filter (Exhibit 27 at 6)         ’984 Patent (Exhibit 1 at Fig. 9 (excerpted))

       Claim 1 further recites “a coupling projection projecting outwardly from an outer surface

of the housing cap.” Exhibit 1 at 26:7-8. As the image below indicates, the outer surface of the

housing cap on each Bringpure filter product contains a plastic protrusion that extends outwardly

to connect the filter assembly to a refrigerator. See also generally Exhibit 30. This plastic

protrusion corresponds to the claimed “coupling projection.” As the ’984 Patent explains, “A

coupling projection 433 may be provided on an outer circumferential surface of the upper portion

of the housing cap 43.” Exhibit 1 at 8:51-53, Figs. 7, 9 (element 433).

                                                 14
       Bringpure filter (Exhibit 27 at 7)             ’984 Patent (Exhibit 1at Fig. 9 (excerpted))

       Claim 1 further recites “an upper supporter accommodated in the channel, the upper

supporter having a first filter inlet flow path to allow water to flow into the filter member.”

Exhibit 1 at 26:9-11. As the image below shows, each Bringpure filter product includes a white,

plastic protrusion connected to the top of the black filter member. See also generally Exhibit 30.

This white, plastic protrusion corresponds to the claimed “upper supporter.” The channel formed

by the hollow interior of the housing cap is shaped to accommodate this plastic protrusion. See

id. Similarly, the ’984 Patent explains, “the upper supporter 80 is capable of being

accommodated in the second accommodating space in which the housing cap 43 is defined.”

Exhibit 1 at 10:25-34, Fig. 9 (element 80).




        Bringpure filter (Exhibit 27 at 8)     ’984 Patent (Exhibit 1 at Fig. 9 (excerpted))


                                                 15
        The image above additionally shows that the upper supporter in each Bringpure filter

product includes a hollow conduit. See also generally Exhibit 30. This conduit corresponds to the

claimed “first filter inlet flow path” and allows water to flow into the black filter member. The

’984 Patent similarly explains, “a first filter inlet flow path 872 extend[s] in a lower direction

[from] the opened upper surface of the supporter extending portion 85.” Exhibit 1 at 12:1618,

Fig. 9 (element 872). “[W]ater which flows through the filter inserting portion 431 flows through

the first filter inlet flow path 872 of the supporter extending portion 85 . . . .” Id. at 12:28-36.

        Claim 1 further recites “a first connecting portion recessed inwardly from an inner

circumferential surface of an upper end of the upper supporter.” Id. at 26:11-13. As the

exemplary image below indicates, the “upper supporter” (i.e., the white, plastic protrusion

extending away from the black filter member) of each Bringpure filter product includes a

recessed area around the circumferential portion of the tip. See also generally Exhibit 30. This

recessed area allows the filter assembly to mate with the receiving portion of the refrigerator.

The various surfaces of the upper supporter that define this recessed area correspond to the

claimed “first connecting portion.” As the ’984 Patent similarly explains, “The first connecting

portion 851 may be recessed toward the inside from the upper end of the supporter extending

portion 85 . . . .” Exhibit 1 at 13:4548, Fig. 11 (element 851).




                                                   16
             Bringpure filter (Exhibit 27 at 9)         ’984 Patent (Exhibit 1 at Fig. 11)

       Lastly, claim 1 recites “a pair of projecting portions disposed symmetrically and

extending from the first connecting portion.” Exhibit 1 at 26:14-15. As the images below show,

each Bringpure filter product includes two plastic ridges that protrude out from the “first

connecting portion” (i.e., from the recessed area at the tip of the “upper supporter”). See also

generally Exhibit 30. These images also show the ridges are symmetrically disposed with respect

to one another. See id. These two plastics ridges, which help align the filter assembly with the

receiving portion of the refrigerator, correspond to the claimed “pair of projecting portions.” As

’984 Patent similarly explains, “a projecting portion 852 project[s] from a position which is

opposite to the inner surface of the supporter extending portion 85.” Exhibit 1 at 13:56-60, Fig.

11 (element 852).




                                                  17
               Bringpure filter (Exhibit 27 at 10)       ’984 Patent (Exhibit 1 at Fig. 11)

       As shown below, the only relevant differences in the Pureza (Bringpure), Yunda, and

Ecopure products are immaterial to the limitations of claim 1. As shown below, all three include

“a pair of projecting portions disposed symmetrically and extending from the first connecting

portion.” See Exhibit 27 at 10; Exhibit 28 at 10; Exhibit 29 at 10.




        Pureza Group                          Yunda Group                   Ecopure Group




                                                18
        Thus, as described here and as shown in Exhibits 27-32, LGE is likely to show by a

preponderance of evidence that the accused products of all Defendants in Exhibit 1 infringe

claim 1 of the ’984 Patent.

                2.      Defendants’ attempts to argue non-infringement and invalidity do not
                rise to the level of a “substantial question” sufficient to defeat LGE’s strong
                showing of likelihood of success

        An accused infringer “can defeat a showing of likelihood of success on the merits by

demonstrating a substantial question of validity or infringement.” Tinnus Enterprises, LLC, 846

F.3d at 1202. Here, several Defendants do not raise any questions as to the infringement and

validity of the ’984 Patent, and the ones that attempt to do so fail to raise to the level of a

“substantial question” sufficient to defeat LGE’s strong showing of likelihood of success.

                        a)      Infringement

        Defendants Shenzen Hangling E-commerce co., Ltd. d/b/a Best Belvita and Dongyang

Zhangping Leather Co., Ltd., d/b/a Ice Water filters have not raised any question as to their

infringement of the ’984 Patent. D.I. 84. Neither have Defendants Express Parts !!!,

GLACIERFRESH, Kozero Filter, or Pureza Filters. D.I. 33. In fact, those Defendants all but

admit infringement, representing that their design “has to be exactly the same [as LGE’s] down

to the millimeter[.]” (July 9, 2021 Hr. Tr. at 16) and that it “would have been ontologically

impossible [to show independent development] because the filter was intended to fit a single LG

refrigerator model[.]” D.I. 90 at 3 (emphasis in original).

        Defendants W&L Trading LLC d/b/a as AQUALINK, Top Pure (USA) Inc. d/b/a as ICE

PURE; Tianjin Tianchuang Best Pure Environmental Science and Technology Co., Ltd. d/b/a as

HEALTHY HOME~ d/b/a GOLDEN ICEPURE. and Yunda H&H Tech (Tianjin) Co., Ltd. d/b/a

as PUREPLUS summarily contend in their interrogatory responses



                                                  19
                 But other than listing those two claim elements, they fail to provide any analysis

or arguments, much less evidence, explaining how those two limitations are not met. They do not

even attempt to rebut the detailed infringement analysis LGE has presented in this case.

Therefore, those Defendants have not shown a “substantial question” as to LGE’s likelihood of

success on infringement, despite having an opportunity to do so.

       Lastly, Defendants Qingdao Ecopure Filter Co. Ltd., Qingdao Maxwell Commercial and

Trading Company Ltd., and Qingdao Youniwei Trading Co., Ltd. attempt to dispute

infringement based only on one claim element: “a pair of projecting portions disposed

symmetrically and extending from the first connecting portion.” D.I. 55 at 8. But their arguments

not only lack merit, they fail to show a “substantial question” as to LGE’s strong showing of

likelihood of success on its infringement claims sufficient to defeat a preliminary injunction.

       The Ecopure Defendants contend their filters do not have “a pair” of projecting portions

and rely on a single embodiment in the ’984 Patent specification as support in an attempt to add a

limitation not found in the claims. D.I. 55 at 21. But the Federal Circuit, the binding authority on

all patent cases, has repeatedly explained that the claims of a patent are not limited to the

embodiments in the specification. Continental Circuits LLC v. Intel Corp., 915 F.3d 788, 797

(Fed. Cir. 2019) (“We have also ‘expressly rejected the contention that if a patent describes only

a single embodiment, the claims of the patent must be construed as being limited to that

embodiment.’”); see also Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906 (Fed. Cir.

2004) (“Even when the specification describes only a single embodiment, the claims of the




                                                 20
patent will not be read restrictively unless the patentee has demonstrated a clear intention to limit

the claim scope using `words or expressions of manifest exclusion or restriction.’”).

        The Ecopure Defendants further contend that the claimed pair of projecting portions

“must be symmetrical, which means ‘exactly similar parts facing each other.’” D.I. 55 at 21

(emphasis in original). They then contend the pair of projecting portions in their filters are not

“mirror images.” Id. at 22. But again, nothing in the claims includes such requirements. The

claim only requires that the pair of projecting portions be “disposed symmetrically.” See Exhibit

1 at 26:14-15 (emphasis added). The word “symmetrically” modifies the word “disposed” not the

phrase “a pair of projecting portions.” Further, their own figure from their motion (on the left

below) belies their arguments. As shown below, the Ecopure Defendants’ infringing filters have

a “first connecting portion” (the recessed area defined by the green and red surfaces on the left

figure) and “a pair of projecting portions [blue] disposed symmetrically and extending from the

first connecting portion,” which is precisely what LGE has already established as shown in the

figure on the right.

      pair of projecting
      portions
                                              first connecting
                                              portion




        None of the Defendants have raised a “substantial question” as to LGE’s strong showing

of a likelihood of success on infringement. This is not surprising, given that the ’984 Patent was

drafted to specifically cover the filter design to fit LGE’s refrigerators. Simply put, it is a lock

                                                  21
(refrigerator) and key (filter) configuration, and LGE has patented the key through the claims in

the ’984 Patent. Defendants copied that design. They cannot defeat that element of the

preliminary injunction analysis.

                       b)      Validity

       A statutory presumption of validity attaches to all issued United States patents. See 35

U.S.C. § 282(a). To raise a substantial question as to the validity of the ’984 Patent, Defendants

would need to “present[] an invalidity defense that [plaintiff] has not shown lacks substantial

merit.” Id. They fail to do so here.

       To prove invalidity, Defendants need to show, by clear and convincing evidence, that the

claim is anticipated or rendered obvious by the prior art, lacks written support, or has overly

broad or incomprehensible scope. See 35 U.S.C. §§ 102, 103, 112. Mere preponderance of the

evidence is not enough. Defendants have not produced any prior art (and LGE is aware of none)

that would anticipate or render obvious claim 1 of the ’984 Patent. Further, a review of the ’984

Patent and claim 1 shows that claim 1 does not lack written support or suffer from issues relating

to overbreadth or indefinite scope.

       Defendants Shenzen Hangling E-commerce co., Ltd. d/b/a Best Belvita, Dongyang

Zhangping Leather Co., Ltd., d/b/a Ice Water filters, Express Parts !!!, GLACIERFRESH,

Kozero Filter, and Pureza Filters have not raised any questions as to the validity of the ’984

Patent. D.I. 84. Defendants W&L Trading LLC d/b/a as AQUALINK, Top Pure (USA) Inc. d/b/a

as ICE PURE; Tianjin Tianchuang Best Pure Environmental Science and Technology Co., Ltd.

d/b/a as HEALTHY HOME~ d/b/a GOLDEN ICEPURE. and Yunda H&H Tech (Tianjin) Co.,

Ltd. d/b/a as PUREPLUS




                                                22
                                                                But they again fail to provide any

analysis or arguments, much less evidence, explaining their position. And these are issues the

USPTO–an objective government body whose mission and specialty is to evaluate inventions for

patentability–already considered when granting the patent. Defendants, even with their

overwhelming interest to invalidate the patent, have been unable to produce anything close to

overcoming this presumption, let alone show a “substantial question” as to the validity of the

’984 Patent sufficient to defeat LGE’s strong showing of likelihood of success.

       Lastly, Defendants Qingdao Ecopure Filter Co. Ltd., Qingdao Maxwell Commercial and

Trading Company Ltd., and Qingdao Youniwei Trading Co., Ltd. attempt to contest validity

based on a piece of prior art the U.S. Patent Office examiner already considered during

prosecution and granted the patent, deciding that the prior art is not an invalidating. D.I. 55 at 23-

26. Specifically, they rely on U.S. Patent Number 10,071,326 by 3M to argue the ’984 Patent is

anticipated. The publication for that 3M patent (Exhibit 34 (US 2017 / 0072347 A1), was one of

four references LGE voluntarily submitted to the patent examiner. See Exhibit 35. The patent

examiner considered this very reference during examination of the novelty and patentability of

the ’984 Patent. Id. After the consideration, the examiner found the ’984 Patent novel and

patentable, indicating that the USPTO determined that the ’326 reference is different than the

water filter of the ’984 Patent.

       The Federal Circuit has explained “where a party only relies on prior art considered by an

examiner in its invalidity contentions, that party has the burden to ‘overcome[e] the deference

that is due to a qualified government agency presumed to have properly done its job, which

includes one or more examiners who are assumed to have some expertise in interpreting the

references and . . . whose duty it is to issue only valid patents.’” Stone Basket Innovations, LLC



                                                 23
v. Cook Medical LLC, 892 F.3d 1175, 1180-81 (Fed. Cir. 2018). A legal presumption of validity

that must be overcome by clear and convincing evidence attaches here. But the Defendants do

not overcome that deference with evidence. They simply rely on generalized and unsupported

attorney argument, and without evidentiary support, their attorney arguments collapse.

       Accordingly, Defendants failed to raise any “substantial questions” as to the validity of

the ’984 Patent sufficient to defeat LGE’s strong showing of likelihood of success.

       B.      Defendants’ actions have and will continue to irreparably harm LGE

       LGE has and will continue to suffer irreparable harm by Defendants’ infringing sales in

the absence of preliminary injunction stopping their infringing conduct. “Harm is irreparable if it

cannot be prevented or fully rectified by the final judgment after trial.” Park v. O-Sung & Co.,

No. 97 C 0924, 1997 U.S. Dist. LEXIS 10967, at *11-12 (N.D. Ill. July 23, 1997) (internal

quotations omitted). Here, such irreparable harm has resulted and will continue to result from the

loss of exclusivity guaranteed by LGE’s patent rights, the loss of market share, and the

immeasurable damage to the goodwill and reputation of LGE that Defendants’ infringement has

and will continue to cause. Exhibit B at ¶¶ 9-10.

       As the Federal Circuit has explained, “[t]he essential attribute of a patent grant is that it

provides a right to exclude competitors from infringing the patent. 35 U.S.C. § 154(a)(1) (2000).

[and i]n view of that right, infringement may cause a patentee irreparable harm not remediable

by a reasonable royalty.” Acumed LLC, 551 F.3d at 1328–29 (emphasis added). Here, LGE

designed and developed the refrigerators that the filters at issue go into as well as its own

genuine filter. It then protected that water filter lock and key design by seeking a utility patent

that describes and claims its structural features. The very purpose of LGE’s ’984 Patent is to

exclude others from infringing that patent. Yet, without permission, Defendants have sold and

continue to sell unauthorized water filters, causing LGE irreparable harm.
                                                 24
       Further, for decades, LGE has worked and invested large amounts of money and

resources to build goodwill and credibility among the public for its innovative line of

high-quality home appliance products, including refrigerators. Exhibit A at ¶¶ 3-4. Given LGE’s

significant investments in innovation, it should come as no surprise that LGE’s filters are priced

higher than Defendants’. In fact, Defendants often sell their infringing water filters at one fifth

the price of a genuine LGE filter. See generally Exhibits 2-19. As the Federal Circuit has found

“[p]rice erosion, loss of goodwill, damage to reputation, and loss of business opportunities are all

valid grounds for finding irreparable harm.” Celsis in Vitro, Inc. v. CellzDirect, Inc. 664 F.3d

922, 930 (Fed. Cir. 2012) (affirming a N.D. Ill. grant of a preliminary injunction in a patent

infringement case). In Celsis in Vitro, the Federal Circuit affirmed the district court’s findings of

irreparable harm based on “price erosion, damage to ongoing customer relationships, loss of

customer goodwill (e.g., when an effort is later made to restore the original price), and loss of

business opportunities.” Id. (emphasis added). The same is true here. Defendants are eroding

LGE’s price and market share based on their heavily discounted products. See generally Exhibits

2-19. Further, as Defendants’ own reviews on Amazon.com show, customers have purchased and

will continue to purchase the infringing products based on price. See, e.g., Exhibit 36 (including

highlighted customer reviews stating that “These are perfect replacement water filters for a

refrigerator. They fit perfectly, have the same specs and are one third the cost. I will continue

buying these and stop wasting money on seriously over priced OEM [Original Equipment

Manufacturer, i.e., in this situation, LGE]”); see also Tinnus Enterprises LLC, 846 F.3d at 1207

(finding that evidence of customers liking the off brand more than the brand name established

harm to the patentee’s reputation and status as an innovator). Unless Defendants are precluded

from continuing to sell their infringing filters, LGE will continue to suffer irreparable harm,



                                                 25
based at least on price erosion, damage to ongoing customer relationships, and loss of customer

goodwill, just as in Celsis in Vitro.

       Moreover, LGE’s customers trust their families’ health and wellbeing to the safety of its

products, and fundamental to those concerns is clean, safe, filtered drinking water. LGE ensures

that its LT1000P filter meets proper safety standards, including the standards established by

NSF. LGE’s filters remove “99.9% of Bisphenol A (BPA), 99.9% of asbestos and almost all

mercury, lead and benzene” and also “some herbicides, pesticides, pharmaceuticals and insect

repellant that can be found in water.” Exhibit 3 at 1. Because Defendants do not adhere to the

same standards (see Section II., B., supra), their sale of water filters for LGE refrigerators that

purport to be, but are not, safe for customers causes irreparable harm to LGE’s reputation for

safe, high-quality home appliances.

       It takes years to build a reputation for quality in the home appliance market. Defendants

threaten to erase LGE’s efforts through an onslaught of inferior products designed to dupe

consumers into using them to replace genuine LGE filters in their refrigerators. These filters can

harm the refrigerator and, in turn, damage LGE’s reputation and goodwill. Exhibit B at ¶¶ 9-10.

This will irreparably harm LGE’s reputation among consumers and will likely invite even further

infringement by Defendants and others. Exhibit B at ¶¶ 9-10. Therefore, there can be no genuine

dispute that Defendants’ infringing sales have and will continue to irreparably harm LGE.

       C.      There is no adequate remedy at law to address LGE’s irreparable harm

       The harm to LGE’s reputation and goodwill along with LGE’s lost market share and

exclusivity cannot be quantified. Every sale of an infringing product displaces the sale of a

genuine LG LT1000P product. And in this case, based on the discovery Defendants have

produced to date, they have sold at least                                   since the issuance of the

’984 Patent. That is at least                      that LGE would have sold but did not due to
                                                 26
Defendants’ infringement. Moreover, those sales caused LGE to lose market share and the

exclusivity provided and guaranteed by the ’984 Patent. Relief for such harm is not possible

absent an immediate injunction. See Exhibit B at ¶ 8. As the court in Polymer Technologies, Inc.

v. Bridwell noted,

               Competitors change the marketplace. Years after infringement has
               begun, it may be impossible to restore a patentee’s (or an exclusive
               licensee’s) exclusive position by an award of damages and a
               permanent injunction. Customers may have established
               relationships with infringers. The market is rarely the same when a
               market of multiple sellers is suddenly converted to one with a single
               seller by legal fiat. Requiring purchasers to pay higher prices after
               years of paying lower prices to infringers is not a reliable business
               option.

103 F.3d 970, 975-76 (Fed. Cir. 1996); see also Douglas Dynamics, LLC v. Buyers Prods. Co.,

717 F.3d 1336, 1345 (Fed. Cir. 2013) (“[M]ere damages will not compensate for a competitor’s

increasing share of the market, a market which [the patentee] competes in, and a market that [the

patentee] has in part created with its investment in patented technology.”); Sanofi-Avenits

Deutschland GmbH v. Glenmark Pharm. Inc., 821 F.Supp.2d 681, 694 (D.N.J. 2011) (“[E]very

sale of Defendants’ [product] is a lost sale by Plaintiffs,” supporting injunction.). Moreover,

because LGE’s filters are designed to be replaced every six months, customers who purchase

infringing filters from Defendants will continue purchasing additional infringing filters over and

over. See, e.g., Exhibit 36 (including highlighted customer reviews stating that “These are perfect

replacement water filters for a refrigerator. They fit perfectly, have the same specs and are one

third the cost. I will continue buying these and stop wasting money on seriously over priced

OEM”).

       Because there is no adequate remedy at law sufficient to compensate LGE for the

irreparable harm it has and will continue to suffer, a preliminary injunction is necessary and

warranted.
                                                 27
        D.      The balance of equities favors LGE

        With the “balance of equities” inquiry, a court “assesses the relative effect of granting or

denying an injunction on the parties.” i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831, 863 (Fed.

Cir. 2010). In this case, the balance of hardships favors LGE.

        In analyzing this factor, courts apply a “sliding scale: [t]he more likely the plaintiff is to

win, the less heavily need the balance of harms weigh in his favor; the less likely he is to win, the

more need it weigh in his favor.” Deckers Outdoor Corp. v. P’ships & Unincorporated Ass’n,

No. 13 C 2167, 2013 U.S. Dist. LEXIS 47248, at *21-22 (N.D. Ill. Mar. 27, 2013) (quoting Girl

Scouts of Manitou Council, Inc. v. Girl Scouts of the U.S. Inc., 549 F.3d 1079, 1082 (7th Cir.

2008) (alteration in original)).

        As shown above, LGE’s request for injunctive relief is strong both on the merits and on

the equities. On the merits, a simple visual examination of the accused products confirms the

strength of LGE’s infringement case. Each of the products listed in Schedule A meets every

limitation recited in claim 1 of the ’984 Patent. See generally Exhibits 27-32.

        Separate from the issue on the merits, which reduces the level of irreparable harm

necessary to secure an injunction, the equities would still favor an injunction. As explained

above, LGE has and will continue to suffer irreparable harm in the marketplace absent a

temporary restraining order and injunction. See Nike, Inc. v. Meitac Int’l Enter. Co., 2:06-CV-

00934-PMP-PAL, 2006 U.S. Dist. LEXIS 94662, *3 (D. Nev. 2006) (“Nike will be severely

handicapped in its ability to prevent further importation of Accused Products, thereby destroying

any potential of preserving the status quo pending a resolution of this case on its merits.”); see

also Cal. Medical Prods., Inc. v. Emergency Medical Prods., Inc., 796 F. Supp. 640, 647 (D.R.I.

1992) (“Denial of the motion for injunctive relief, therefore, would cause considerable harm to



                                                  28
[the patentee’s] reputation and threaten its market position. . . . Accordingly, the Court finds that

the potential harm to [the patentee] outweighs the potential harm to [the defendant].”).

       Thus, the balance of equities weighs strongly in favor of granting a preliminary

injunction.

       E.      Public interest favors a preliminary injunction

       The patent laws reflect a fundamental bargain between inventors and society: Inventors

are entitled to profit from a period of exclusive use of their inventions in exchange for the

disclosure of their ingenuity. Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1354 (Fed.

Cir. 2010). Defendants’ continued infringement of the ’984 Patent undermines that social

contract, illicitly and literally profiting from LGE’s ingenuity and devaluing patent rights as a

whole. This is why public policy favors protecting the rights secured by a valid patent. Cobraco

Mfg. Co. v. Valley View Specialties Co., No. 90 C 0284, 1990 U.S. Dist. LEXIS 10958, at *8

(N.D. Ill. Jan. 19, 1990).

       “[T]he public interest nearly always weighs in favor of protecting property rights in the

absence of countervailing factors, especially when the patentee practices his invention.” Apple

Inc. v. Samsung Elecs. Co., 809 F.3d 633, 647 (Fed. Cir. 2015). The grant of an injunction would

further the public’s confidence in the patent and judicial system and provide incentives for

inventors and corporations to continue developing innovative products and patenting new ideas

without the fear that they will be unable to stop potential infringers.

       The public also has a strong interest in having water filters that provide reliably safe

drinking water. Lead in drinking water poses a significant risk, particularly to children, and

legacy lead service pipes are a problem across the country, including in Chicago. See Exhibit 37,

WTTW, Mar. 24, 2021 (“Chicago Has More Lead Service Pipes Than Any Other US City,

Illinois the Most of Any State”). Legitimate, verified water filtration, such as that provided by
                                                 29
LGE’s product (and as shown above not provided by Defendants), can reduce the lead in

drinking water. See Exhibit 38.

       An injunction will not harm the public because removing the accused products from the

marketplace will not cause a shortage of LT1000P-compatible replacement water filters. Ample

sources of legitimate and authorized replacement water filters would remain available from

LGE’s online store, big box retail locations, and through the hundreds of authorized LGE home

appliance repair dealers across the United States. See, e.g., Exhibit B at ¶¶ 5-6. The public will

be able to purchase these authorized devices even if Defendants’ sales immediately halt. See

Nat’l Presto Indus. Inc. v. Dazey Corp., 18 U.S.P.Q.2d 1113, 1121 (N.D. Ill. 1990) (“If an

injunction makes the [defendant’s product] unavailable, the public has plenty of substitutes,

including [plaintiff’s products].”).

       Accordingly, the public interest favors granting injunctive relief.

V.     CONCLUSION

       In view of the foregoing, LGE respectfully requests that this Court enter a preliminary

injunction precluding the remaining Defendants identified in Schedule A from continuing to

import, offer for sale, sell, transfer, or otherwise dispose of replacement water filters that infringe

the ’984 Patent.



DATED: July 26, 2021                         Respectfully submitted,

                                             /s/ Aidan C. Skoyles

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2021, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

                                              /s/ Aidan C. Skoyles




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